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                               UNITED STATES JUDICIAL PANEL
                                                   on
                                  MULTIDISTRICT LITIGATION


IN RE: CENTURYLINK RESIDENTIAL
CUSTOMER BILLING DISPUTES
LITIGATION                                                                              MDL No. 2795



                                         TRANSFER ORDER


        Before the Panel:- CenturyLink defendants' move to centralize nine actions inthe Western
District of Louisiana, or, in the alternative, the District of Minnesota. The actions are pending in the
District of Arizona, the Central District of California, the District of Colorado, the Middle District
of Florida, the District of Idaho, the District of Minnesota, the District of Nevada, the District of
Oregon, and the Western District of Washington, as listed on the attached Schedule A. The Panel
has been informed of seven additional federal actions involving related issues.2

         Plaintiffs in two tag-along actions in the Southem District of Iowa (Denntston) and the
Western District of Wisconsin (Miller) oppose centralization. Plaintiffs in the nine constituent
actions (McLeodplaintiffs) and plaintiffs in a potential tag-along action in the Southern District of
Alabama (Williams) support centralization, but in the District of Arizona (or, in the alternative, the
District of Minnesota). The Mcleod andWilliams plaintiffs also request that the MDL be renamed
either, "In re: CenturyLink Sales Practices Litigation" (the Mcleodplaintiffs' suggestion), or "In re:
CenturyLink Sales and Billing Practices Litigation" (the Williams plaintiffs' suggestion). Defendants
oppose renaming.

        On the basis of the papers filed and the hearing session held, we find that these actions
involve common questions of fact, and that centralization of these cases will serve the convenience
of the parties and witnesses and promote the just and efficient conduct of this litigation. The actions
share factual questions arising from allegations that defendants, a family of telecommunications
companies, have engaged in a range of deceptive or otherwise improper practices, such as billing



        *
         One or more Panel members who couldbe members of the putative class in this litigation
have renounced their participation in that class and have participated in this decision.

        t  CenturyLink Communications, LLC, Embarq Minnesota, fnc., CenturyLink, fnc.,
CenturyLink Public Communications, lnc., CenturyLink Sales Solutions, [nc., CenturyTel of Idaho,
Inc., CenturyTel of the Gem State, Inc., and Embarq Florida, [nc.

        2
            These and any other related actions are potential tag-along actions. See Panel Rules 1 .1(h),
7.1, and7.2.
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subscribers for telephone lines or services that the subscribers did not request, billing subscribers
higher rates than the rates quoted during sales calls, imposing early termination fees when
subscribers cancelled the services due to the higher-than-quoted rates, charging for periods of service
before the service was connected or products received, and failing to process subscribers' seryice
cancellation requests in a timely manner. Centrahzation will eliminate duplicative discovery,
prevent inconsistent pretrial rulings on class certification and other pretrial matters, and conserve the
resources of the parties, their counsel, and the judiciary.

         In opposing centralization, the Denniston and Miller plaintiffs principally argue that there
are differences among the various state laws on which plaintiffs bring their claims. This argument
is not convincing. As the Panel has held, "[t]he presence of differing legal theories is outweighed
when the underlying actions . . . arise from a common facfual core." In re: M3Power Razor Sys.
Mktg. & Sales Practices Litig.,398 F. Srrpp. 2d 1364-65 (J.P.M.L. 2005) (rejecting argument that
 centralization was inappropriate because many of the actions were "dependent upon questions of
different state laws"). The argument is weaker still given that the putative classes inDenniston and
Miller are largely, and likely entirely, subsumed by the proposed nationwide classes in five of the
constituent actions.s

        We defer a decision on renaming the MDL. Three of the potential tag-along actions are
federal securities actions, and, iftransferred via our conditional transfer order process, necessarily
will expand the litigation's parameters. Renaming the litigation at this time is premature.

         We select the District of Minnesota as transferee district. One of the constituent actions is
pending in that district, and its selection is supported, albeit in the alternative, by both moving
defendants and a majority of responding plaintiffs. Minneapolis offers a central, readily accessible
venue for all parties. Further, centralization in the District of Minnesota enables us to assign the
litigation to Judge Michael J. Davis, an able and experienced jurist who has skillfully handled a
number of other MDLs. We are confident that the judge will steer this litigation on a prudent course.




        3 See In re: Portfulio Recovery Assocs., LLC, Tel. Consumer Prot. Act. Litig.,846 F. Supp.
2d 1380, 1381 (J.P.M.L.2011) (centralizitgfle actions, noting that the putative classes in two of
the actions were "subsumed by the alleged nationwide classes in other cases").
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        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the District of Minnesota are transferred to the District of Minnesota, afid, with the consent of that
court, assigned to the Honorable Michael J. Davis for coordinated or consolidated pretrial
proceedings.



                                        PANEL ON MULTIDISTRICT LITIGATION




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                                                          Sarah S. Vance
                                                               Chair

                                       Marjorie O. Rendell             Charles R. Breyer
                                       Lewis A. Kaplan                 Ellen Segal Huvelle
                                       R. David Proctor                Catherine D. Perry
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IN RE: CENTURYLINK RESIDENTIAL
CUSTOMER BILLING DISPUTES
LITIGATION                                                         MDL No. 2795


                                     SCHEDULE A


           District of Arizona

     ALLISON v. CENTURYLINK INCORPORATED, ET AL., C.A. No. 2:17-02162

           Central District of California

     MCLEOD, ET AL. v. CENTURYLINK, INC., ET AL., C.A. No. 2:17 -04504

           District of Colorado

     CHAYEZ v. CENTURYLINK, D[C., ET AL., C.A. No. 1:17-01561

           Middle District of Florida

     CARRILLO, ET AL. v. CENTURYLINK, INC., ET AL., C.A. No. 6:17 -01309

           District of Idaho

     HANIFEN v. CENTURYLINK, [NC., ET AL., C.A. No. l:17 -00267

           District of Minnesota

     ROMERO, ET AL. v. CENTURYLINK, INC., ET AL., C.A. No. 0:17 -02832

           District of Nevada

     GARTEN v. CENTURYLINK, [.{C., ET AL., C.A. No. 2:17 -01794

           District of Oregon

     GONSIOR v. CENTURYLINK, [.iC., C.A. No. 3:17 -00963

           Western District of W

     LAWHEAD v. CENTURYLINK, INC., C.A. No. 3:17 -05487
